             Case 2:10-cr-00042-TLN Document 227 Filed 05/29/13 Page 1 of 2


     MICHAEL CHASTAINE, State Bar #121209
 1   THE CHASTAINE LAW OFFICE
     2377 Gold Meadow Way, Suite 100
 2   Gold River, CA 95670
     Telephone: 916-732-7150
 3
     Attorneys for Defendant
 4
     Vy Pham
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                              ) Case No.: 2:10 CR 0042 MCE
     UNITED STATES OF AMERICA,                  )
10                                              ) STIPULATION AND ORDER
                  Plaintiff,                    ) CONTINUING JUDGEMENT AND
11                                              ) SENTENCING
           v.                                   )
12                                              )
     VY PHAM, et al,                            )
13                                              )
                  Defendant.                    )
14
15
           It is hereby stipulated between the parties, Jason Hitt, Assistant United States
16
17   Attorney, Linda Harter, attorney for Keit Tran and Michael Chastaine, attorney for Vy

18   Pham, that the sentencing date of Thursday, May 30, 2013 should be continued until
19
     Thursday August 22, 2013. The continuance is requested for the following reasons: Ms.
20
     Pham and Keit Tran were involved in an automobile accident on May 6, 2013. Their
21
22   vehicle was “T-boned” by another car causing damage to the vehicles and back and neck
23
     injuries to both Ms. Pham and Mr. Tran. Ms. Pham suffered injuries and has been under
24
     a doctor’s care. Due to the nature of the injuries, the Doctor has recommended that Ms.
25
26   Pham continue with treatment until Mid August. Mr. Tran is also under a doctors care
27   for injuries suffered during the accident. Keit Tran and Vy Pham are engaged and
28


                                                 1
             Case 2:10-cr-00042-TLN Document 227 Filed 05/29/13 Page 2 of 2


     currently live together. They seek to be sentenced and remained at the same time. The
 1
 2   Government has no objection to having Mr. Tran and Ms. Pham sentenced at the same
 3
     time. The Government has no objection to this requested continuance.
 4
           Dated: May 24, 2013               By: ____/s/ Michael Chastaine
 5
 6                                           MICHAEL CHASTAINE
                                             Attorney for Vy Pham
 7
 8   Dated: May 24, 2013                     By: ____/s/ Michael Chastaine for Linda Harter
 9                                                 LINDA HARTER
                                             Attorney for Keit Tran
10
11
12   Dated: May 24, 2013                     BENJAMIN B. WAGNER
13                                           United States Attorney

14                                           By: /s/ Michael Chastaine for Jason Hitt___
15                                                   Jason Hitt
                                                     Assistant U.S. Attorney
16
17                                          ORDER
18
19         GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
20         IT IS HEREBY ORDERED that the sentencing scheduled for Thursday, May 30,
21   2013 at 9:00 a.m. be continued to Thursday, August 22, 2013 at 9:00 a.m.
22   DATED: May 28, 2013
23
24
                                        ___________________________________________
25
                                        MORRISON C. ENGLAND, JR., CHIEF JUDGE
26                                      UNITED STATES DISTRICT COURT

27
28


                                                2
